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12                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
13                                 AT YAKIMA
14
         STATE OF WASHINGTON, et al.,                  NO. 1:20-cv-03127-SAB
15
                                Plaintiffs,            ORDER GRANTING
16                                                     PLAINTIFF STATES’ MOTION
               v.                                      FOR PRELIMINARY
17                                                     INJUNCTION
18       DONALD J. TRUMP, et al.,
                                                       [PROPOSED]
19                              Defendants.
20
            This matter came before the Court on the Plaintiff States’ Motion for
21
      Preliminary Injunction. The Court has considered the Plaintiffs’ Motion,
22
      Defendants’ Opposition, Plaintiffs’ Reply, the briefs of amici curiae, and the
23
      supporting declarations filed therewith, and is fully apprised of the matter.
24
            The Court finds that Plaintiff States have established a likelihood of success
25
      on the merits of their claims that the United States Postal Service and the
26
                                                                 ATTORNEY GENERAL OF WASHINGTON
       ORDER GRANTING PLAINTIFFS’                 1                   Complex Litigation Division
       MOTION FOR PRELIMINARY                                         800 Fifth Avenue, Suite 2000
                                                                          Seattle, WA 98104
       INJUNCTION                                                            (206) 464-7744
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 1    Postmaster General (collectively, the USPS Defendants) violated 39 U.S.C.
 2    § 3661(b) and infringed on the States’ constitutional authority to regulate elections
 3    and the people’s right to vote, that Plaintiff States would suffer irreparable harm
 4    absent preliminary injunctive relief, and that the balance of equities and the public
 5    interest weigh in favor of a preliminary injunction.
 6             The Court therefore ORDERS that Plaintiff States’ Motion for Preliminary
 7    Injunction is GRANTED.
 8             The USPS Defendants, and all their respective officers, agents, servants,
 9    employees and attorneys, and persons in active concert or participation with them
10    are hereby ENJOINED from the following until the Court resolves the merits of
11    this case:
12             a.     continued implementation or enforcement of policy changes
13    announced in July 2020 that have slowed mail delivery, including:
14                    i.     instructing mail carriers to leave mail behind for processing or
15             delivery at a later date;
16                    ii.    requiring mail carriers or delivery trucks to leave at set times
17             regardless of whether the mail is actually ready;
18                    iii.   prohibiting or unreasonably restricting return trips to
19             distribution centers if necessary to complete timely mail delivery; and
20                    iv.    taking any actions to implement or enforce the operational
21             changes outlined in the USPS’s “Mandatory Stand-Up Talk: All
22             Employees” dated July 10, 2020;
23             b.     deviating from the USPS’s long-standing policy of treating election
24    mail in accordance with First Class Mail delivery standards, regardless of the paid
25    class;
26
                                                                    ATTORNEY GENERAL OF WASHINGTON
       ORDER GRANTING PLAINTIFFS’                   2                    Complex Litigation Division
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 1          c.     taking any actions in violation of the commitments made in the
 2    “Postmaster General Louis DeJoy Statement,” dated August 18, 2020, such as
 3    removal or decommissioning of any mail sorting machines, reducing hours at post
 4    offices, or closing mail processing facilities; and
 5          d.     implementing or enforcing any “change in the nature of postal
 6    services which will generally affect service on a nationwide or substantially
 7    nationwide basis,” absent a duly issued advisory opinion of the Postal Regulatory
 8    Commission, 39 U.S.C. § 3661(b).
 9          IT IS FURTHER ORDERED that if any post office, distribution center, or
10    other postal facility will be unable to process election mail for the November 2020
11    election in accordance with First Class delivery standards because of the Postal
12    Service’s recent removal and decommissioning of equipment, such equipment will
13    be replaced, reassembled, or reconnected to ensure that the Postal Service can
14    comply with its prior policy of delivering election mail in accordance with First
15    Class delivery standards, and that if any post office or distribution center has
16    requested, or in the future requests, to reconnect or replace any decommissioned
17    or removed sorting machine(s), any such request must be presented to this Court
18    within three days of this Order or within three days of the date of the request,
19    whichever is later, unless the Postal Service has already approved the request. If
20    the Postal Service has denied the request or has not responded, the Court will
21    determine whether granting the request is likely necessary to ensure that election
22    mail is processed according to First Class delivery standards or otherwise to protect
23    the constitutional right to vote, and if the Court so finds it shall order that the
24    request be approved by USPS Defendants.
25

26
                                                                  ATTORNEY GENERAL OF WASHINGTON
       ORDER GRANTING PLAINTIFFS’                 3                    Complex Litigation Division
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 1          IT IS FURTHER ORDERED that the USPS Defendants shall notify their
 2    officers, agents, representatives, servants, employees, attorneys, and all persons in
 3    active concert or participation with them of the requirements herein.
 4          IT IS FURTHER ORDERED that the Plaintiff States’ motion to compel is
 5    GRANTED. The USPS Defendants shall provide a complete response to
 6    Interrogatory No. 1 within three days of the date of this order.
 7          The Court deems no security bond is required under Federal Rule of Civil
 8    Procedure 65(c).
 9          This injunction shall remain in effect until a final judgment is entered or
10    until further order of the Court.
11          It is SO ORDERED.
12          ISSUED this _______ day of __________________, 2020.
13

14
                             THE HONORABLE STANLEY A. BASTIAN
15

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 1                            DECLARATION OF SERVICE
 2          I hereby declare that on this day I caused the foregoing document to be
 3
      electronically filed with the Clerk of the Court using the Court’s CM/ECF System
 4
      which will serve a copy of this document upon all counsel of record.
 5
            DATED this 9th day of September, 2020, at Tumwater, Washington.
 6

 7
                                   /s/ Jennifer D. Williams
 8                                 JENNIFER D. WILLIAMS
                                   Paralegal
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